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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
IN RE:                                              BANKRUPTCY CASE

CASSANDRA JOHNSON LANDRY,                           NO. 18-55697-lrc

         Debtor.                                    CHAPTER 7


KING GROUP MGMT, LLC, and SUKHMANI
INVESTMENTS, LLC,

         Movants,

vs.                                                 CONTESTED MATTER

CASSANDRA JOHNSON LANDRY, Debtor,
S. GREGORY HAYS, Trustee,

         Respondents.


                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that Movants have filed an AMENDED MOTION FOR
RELIEF FROM THE AUTOMATIC STAY and related papers with the Court seeking an Order
Granting Relief from Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
AMENDED MOTION FOR RELIEF FROM THE AUTOMATIC STAY in Courtroom 1204
of the U.S. Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 at 10:00 AM on
January 10, 2019.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is:
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Bankruptcy Clerk, U.S. Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303. You
must also mail a copy of your response to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movants waive the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movants consent to the
automatic stay remaining in effect until the Court orders otherwise.

       This 14th day of December, 2018.

                                     Rountree & Leitman, LLC

                                     By: /s/ David S. Klein
                                         David S. Klein
                                         Georgia Bar No. 183389
                                         dklein@randllaw.com
                                         Counsel for Movants
2800 North Druid Hills Road
Building B, Suite 100
Atlanta, Georgia 30329
(404) 856-0540




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                    IN THE UNITED STATES BANKRUPTCY COURT
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INVESTMENTS, LLC,

         Movants,

vs.                                                  CONTESTED MATTER

CASSANDRA JOHNSON LANDRY, Debtor,
S. GREGORY HAYS, Trustee,

         Respondents.


          AMENDED MOTION FOR RELIEF FROM THE AUTOMATIC STAY1

         King Group Mgmt, LLC and Sukhmani Investments, LLC (collectively, the “Movants”)

file this Motion for Relief from the Automatic Stay to, among other things, allow it to proceed with

a state law dispossessory action against Cassandra Johnson Landry (“Debtor”). In support of this

Motion, Movants respectfully show this Court the following:

         1.    This is a Motion under Section 362(d)(1) of the Bankruptcy Code for relief from

the stay for all purposes allowed by law, including, but not limited to, the right to dispossess

Debtor, of certain real property.



1
 Movants submit this Amended Motion for Relief from the Automatic Stay to correct the subject
property address.


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       2.      Movants purchased the property otherwise known as 3556 Habersham at Northlake,

Building H, Tucker, Georgia (the “Property”) at a foreclosure sale held on August 7, 2018. A true

and correct copy of the Deed Under Power of Sale recorded in the Superior Court of DeKalb

County real estate records is attached to the original Motion for Relief from the Automatic Stay as

Exhibit “A” and incorporated herein by reference.

       3.      On August 20, 2018, Movants filed a dispossessory warrant in the Magistrate Court

of DeKalb County against Alliance for Change Through Treatment, LLC (“Alliance”), Debtor,

and All Others, assigned a case number of 18D54764.

       4.      Upon information and belief, Debtor is the sole member of Alliance.

       5.      On October 15, 2018, Debtor filed a “Letter” with the Magistrate Court informing

it that she had filed this bankruptcy action. A true and correct copy of this Letter is attached to the

original Motion for Relief from the Automatic Stay as Exhibit “B” and is incorporated herein by

reference.

       6.      This is the first time that Movants became aware of Debtor’s bankruptcy filing.

       7.      The Magistrate Court held a hearing on December 13, 2018, whereby the

Magistrate Court indicated it would not proceed with issuance of a Writ of Possession or further

hearing until receiving an Order from this Court lifting the automatic stay.

       8.      The Magistrate Court has re-set the underlying hearing for January 23, 2019 to

allow time for Movants to obtain relief from this Court.

       9.      The Debtor and Alliance continue enjoying the benefits of possessing the Property

as a possible tenant-at-sufferance after the foreclosure sale of the Property and without tendering

any rent to Movants.



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       10.     Movants desire to use any and all legal means to take possession of the Property

and remove any and all personal property of the Debtor and Alliance from the Property but is

unable to do so as long as the automatic stay is in effect.

       11.     Movants are not adequately protected and hereby shows that there is cause for relief

from the stay, as (i) the Debtor and Alliance are tenants-at-sufferance after the foreclosure sale of

the Property, and (ii) the Movants are unable to dispossess the Debtor, Alliance, and/or other

occupants and remove their respective personal property from therein because of the stay. 11

U.S.C. § 362(d)(1).

       12.     Furthermore, relief from the stay is appropriate, because the Debtor does not have

equity in the Property and the Property is not necessary to an effective reorganization. 11 U.S.C.

§ 362(d)(2)(A)-(B).

       WHEREFORE, the Movant requests for the following relief:

               (1)     an Order lifting the stay, authorizing Movants to, among other things,

exercise their state law rights to take possession of the Property and remove any personal property

from the Property.

               (2)     that the Court waive the 14-day stay of Bankruptcy Rule 4001(a)(3); and

               (3)     for such other and further relief as the Court deems just and equitable.

       Respectfully submitted, this 14th day of December, 2018.




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                                 Rountree & Leitman, LLC

                                 By: /s/ David S. Klein
                                     David S. Klein
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                                     dklein@randllaw.com
                                     Counsel for Movants
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KING GROUP MGMT, LLC, and SUKHMANI
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         Movants,

vs.                                                  CONTESTED MATTER

CASSANDRA JOHNSON LANDRY, Debtor,
S. GREGORY HAYS, Trustee,

         Respondents.


                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing Notice of Hearing and Amended

Motion for Relief from the Automatic Stay on the following parties by depositing in the United

States mail a copy of same in a properly addressed envelope with adequate postage affixed thereon

to assure delivery to:

                                    Cassandra Johnson Landry
                                     869 Natchez Valley Trace
                                        Grayson, GA 30017

                                          S. Gregory Hays
                                   Hays Financial Consulting, LLC
                                              Suite 555
                                        2964 Peachtree Road
                                         Atlanta, GA 30305



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                                 United States Trustee
                              362 Richard Russell Building
                                75 Ted Turner Drive, SW
                                   Atlanta, GA 30303


      This 14th day of December, 2018.
                                               /s/ David S. Klein
                                               David Klein, Georgia Bar No. 183389
                                               dklein@randllaw.com




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